                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


  UNITED STATES OF AMERICA                       :
                                                 :
                                                         CRIMINAL NO. JKB-23-0056
               v.                                :
                                                 :
  BRANDON CLINT RUSSELL,                         :
                    Defendant.                   :
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                 GOVERNMENT’S RESPONSE TO DEFENDANT’S
               MOTION TO COMPEL NOTICE OF FISA INFORMATION

       The United States of America, by its undersigned attorneys, submits this response to the

defendant’s Motion to Compel the Government to Provide Notice of Its Intent to Use or Disclose

Information Obtained or Derived from Surveillance Conducted Pursuant to Section 702 of the

Foreign Intelligence Surveillance Act, and states as follows.

       The defendant seeks to compel the government to provide notice of its “intent to use

evidence obtained or derived from Section 702 surveillance of his communications in the present

case.” ECF 107, at 2. According to the defendant, the timing of the publication of an article in

Politico on February 13, 2023, and public statements by FBI Director Wray about an unidentified

foiled terror plot “strongly suggests that communications related to the instant prosecution were

intercepted and queried pursuant to Section 702.” In other words, the defendant’s extraordinary

motion to compel is based on pure speculation.

       The government has met and exceeded its discovery obligations in this case. It has provided

not only materials called for under Rule 16, but Jencks Act and potential impeachment

information, as well as voluminous other materials, including statements of the defendant that are
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not even relevant to the charge of conspiracy. The government is aware of all of its disclosure

obligations, including its notification obligation regarding FISA-derived information, see 50

U.S.C. 1806(c), and pursuant to the Classified Information Procedures Act (CIPA).

       That notice obligation regarding the use of FISA information under 50 U.S.C. § § 1806(f),

1825(d), and 1881(e) applies only if the government (1) “intends to enter into evidence or

otherwise use or disclose” (2) “against an aggrieved person” (3) in a “trial, hearing or other

proceeding in or before any court, department officer, agency, regulatory body, or other authority

of the United States” (4) any “information obtained or derived from” (5) “electronic surveillance

[or physical search] of that aggrieved person.” 50 U.S.C. § § 1806(c) and 1825(d). Only where all

five criteria are met must the government provide notice that the United States intends to use or

disclose such information. In this case, the government has determined that a FISA notice is not

required.

       In short, the government is aware that it has obligations to produce classified information

if certain conditions are met and that it cannot withhold information it would otherwise be required

to produce merely because it is classified. The government has and will continue to fully abide by

all of those obligations.

                                         CONCLUSION

       For the foregoing reasons, the government respectfully requests that this Court deny the




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defendant’s Motion to Compel.

                                      Respectfully submitted,

                                      Erek L. Barron
                                      United States Attorney

                                By:
                                      Kathleen O. Gavin
                                      Michael F. Aubin
                                      Assistant United States Attorneys
                                      36 South Charles Street
                                      Fourth Floor
                                      Baltimore, Maryland 21201
                                      (410) 209-4800

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